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                                                                IN THE UNITED STATES DISTRICT COURT
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                                          10                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
For the Northern District of California




                                          11
    United States District Court




                                                                                               No. C 08-04328 CW
                                          12   ESTATE OF ANDREW WAHNEE MOPPIN-
                                               BUCKSKIN, et al.,                               ORDER GRANTING
                                          13                                                   DEFENDANTS’ MOTION
                                                         Plaintiffs,                           FOR SUMMARY JUDGMENT
                                          14
                                                  v.
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                                               CITY OF OAKLAND, et al.,
                                          16
                                                         Defendants.
                                          17
                                          18   AND RELATED COUNTER- AND CROSS-CLAIMS
                                          19   ____________________________________/
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                                                    This is an excessive force civil rights case arising from the
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                                               tragic death of twenty-year-old Andrew Wahnee Moppin-Buckskin at
                                          22
                                               the hands of Oakland police officers.       Plaintiffs Estate of Andrew
                                          23
                                               Wahnee Moppin-Buckskin, Sonja Wahnee Moppin, Michael Moppin, and
                                          24
                                               minors A.M.B. and A.W.M.B. have sued Defendants City of Oakland and
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                                               Oakland Police Officers Hector Jimenez, J. Borello and Barry Hofman
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                                               in their individual and official capacities under 42 U.S.C. § 1983.
                                          27
                                               In this summary judgment motion, Defendants argue that there are no
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                                           1   triable issues of material fact and that they are entitled to
                                           2   judgment as a matter of law.      Plaintiffs oppose the motion.    The
                                           3   matter was heard on December 10, 2009.       Having considered oral
                                           4   argument and all of the papers filed by the parties, the Court
                                           5   grants Defendants’ motion.
                                           6                                   BACKGROUND
                                           7        On December 31, 2007, at 7:30 p.m. Oakland Police Officers
                                           8   Keith Souza and Jason Mitchell pulled Mr. Moppin over near 46th
                                           9   Avenue and International Boulevard in Oakland for failing to stop
                                          10   completely at a stop sign.     After the car stopped, Mr. Moppin and
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                                          11   two passengers exited the car.      Mr. Moppin then fled on foot.
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                                          12   Sergeant Barry Hofman responded to the scene of the initial car
                                          13   stop and began looking for Mr. Moppin by driving around the
                                          14   neighborhood.
                                          15        While driving southbound on 47th Avenue, Sgt. Hofman found Mr.
                                          16   Moppin hiding underneath a parked Ford Explorer.         Hofman Dep. at
                                          17   61-62.    Sgt. Hofman then notified dispatch that he located Mr.
                                          18   Moppin.   Sgt. Hofman reversed his car and kept a distance of about
                                          19   ninety feet between himself and Mr. Moppin.        Hofman Dep. at 64.     He
                                          20   backed away so that he could call additional officers for help and
                                          21   so as not to force Mr. Moppin to act.        Hofman Dep. at 63.   Officers
                                          22   Hector Jimenez and Jessica Borello arrived by patrol car at the
                                          23   scene from the south and saw Sgt. Hofman in his patrol car.        Sgt.
                                          24   Hofman then turned his patrol car’s spotlight on the Explorer to
                                          25   notify Officers Jimenez and Borello of Mr. Moppin’s location.
                                          26   Hofman Dep. at 65.    Once Officer Borello directed her spotlight on
                                          27   the car, she saw Mr. Moppin crouched down, between the car and an
                                          28   adjacent fence, with his hands between his legs.         Officers Jimenez

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                                           1   and Borello stopped their patrol car about seven to ten feet south
                                           2   of Mr. Moppin and the Explorer.      Jimenez Dep. at 65.     They got out
                                           3   of their patrol car with their guns drawn in the “contact ready”
                                           4   position, pointed at Mr. Moppin.1        Officers Jimenez and Borello
                                           5   repeatedly ordered Mr. Moppin to stand up and put his hands up.            At
                                           6   this point, Mr. Moppin was about ten feet away from the Officers
                                           7   Jimenez and Borello, but he did not comply with their commands and
                                           8   they could not see his hands.
                                           9        While still in the crouched position, Mr. Moppin said, “What?
                                          10   I haven’t done anything wrong.      I’m just back here taking a shit.”
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                                          11   Hofman Dep., 87-88.2    Officer Jimenez responded, “[N]o you’re not
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                                          12   ‘cause I see your pants are up.”      Jimenez Dep. at 129.        After
                                          13   several seconds, Mr. Moppin stood up and slowly raised his hands up
                                          14   near his ears, palms open and facing Officers Jimenez and Borello.
                                          15   Borello Dep. at 59; Jimenez Dep. at 78.
                                          16        At this point, Mr. Moppin was standing in a narrow area,
                                          17   approximately three feet wide, between the Explorer and the fence.
                                          18   Hofman Dep. at 86.     He was standing near the rear-passenger door of
                                          19   the Explorer.   Hofman Dep. at 86.       Officer Jimenez gave several
                                          20   more commands to Mr. Moppin to step closer to the officers because
                                          21   they did not want to be trapped between the wall and the car.             Mr.
                                          22   Moppin did not move forward.      Instead, Mr. Moppin cursed at the
                                          23
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                                                     According to Officer Jimenez, the contact ready position is
                                          24   when “you have your strong hand on the grip, you have the weak hand
                                               covering so the recoil won’t push the weapon in that direction.
                                          25   You have -- your feet staggered, so you have your left foot a
                                               little more ahead than your right foot; knees are bent, your back
                                          26   is crouched, your arms are extended out.” Jimenez Dep. at 84. The
                                               trigger finger is along “the slide of the weapon.” Id. at 85.
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                                                     Officer Borello similarly testified that Mr. Moppin stated,
                                          28   “What the fuck. I’m taking a shit.” Borello Dep. at 59.

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                                           1   officers, “What the fuck did I do?”       Officer Jimenez then said, “If
                                           2   you don’t walk toward me, I’m going to shoot you.”         Jimenez Dep. at
                                           3   80.   Officer Jimenez made this threat “hopefully to scare him to
                                           4   walk towards me so we could take him into custody.”         Id. at 81.
                                           5   Mr. Moppin responded, “I don’t give a fuck if you shoot me, I’ve
                                           6   been shot before.”    Borello Dep. at 63; Jimenez Dep. at 82.
                                           7         Officer Borello testified that Mr. Moppin’s hands were up for
                                           8   five seconds.   Borello Dep. at 63.      Then, according to Officer
                                           9   Borello, Mr. Moppin took one step towards Officers Jimenez and
                                          10   Borello and, with his right hand, he reached towards his back
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                                          11   waistband and turned his body to his right, slightly away from
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                                          12   Officers Jimenez and Borello.      Borello Dep. at 65.     According to
                                          13   Officer Jimenez, Mr. Moppin did not move towards the officers and
                                          14   did not turn his body when he reached for the small of his back.
                                          15   Jimenez Dep. at 83-86.     As Mr. Moppin was lowering his right hand,
                                          16   Officer Borello screamed, “Let me see your hands, let me see your
                                          17   hands.”   Borello Dep. at 66.     Once, Mr. Moppin’s right hand
                                          18   disappeared behind his back, both Officers Jimenez and Borello
                                          19   fired their weapons.    Borello Dep. at 65-67; Jimenez Dep. at 82-87.
                                          20         Officer Borello testified that Officer Jimenez fired his
                                          21   weapon before she fired hers because, at the time that Mr. Moppin
                                          22   reached towards his waist, she was getting ready to holster her
                                          23   weapon in order to handcuff him.      Borello Dep. at 67.         Officer
                                          24   Jimenez fired between three and four shots and Officer Borello
                                          25   fired one shot.   Jimenez Dep. at 89; Borello Dep. at 68.           Both
                                          26   officers testified that they believed Mr. Moppin was reaching for a
                                          27   weapon and that their lives were in danger.        Jimenez Dep. at 86,
                                          28   130; Borello Dep. at 61-62.

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                                           1          By the time of the shooting, Sgt. Hofman had exited his car
                                           2   and had moved to within ten to twelve feet of Mr. Moppin.           Hofman
                                           3   Dep. at 77-84.   Sgt. Hofman approached the scene from the north and
                                           4   was crouching by the front passenger fender of the Explorer at the
                                           5   time of the shooting.    Hofman Dep. 85-87.      Mr. Moppin’s back was
                                           6   facing Sgt. Hofman throughout the incident.        Hofman Dep. at 85-87.
                                           7   He could see Mr. Moppin clearly but his view of Officers Jimenez
                                           8   and Borillo was obstructed by the Explorer.        Hofman Dep. at 85-87,
                                           9   104.   Sgt. Hofman testified that Mr. Moppin’s hands were up for
                                          10   “less than a second.”    Hofman Dep. at 89-90.      According to Sgt.
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                                          11   Hofman, once Mr. Moppin dropped his hands, Mr. Moppin said
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                                          12   “something akin of, ‘Fuck you, I didn’t do anything.’”            Hofman Dep.
                                          13   at 90-91.    Sgt. Hofman then said to Mr. Moppin, “Dude, get your
                                          14   hands up.”   Hofman Dep. at 109-111.      A “few seconds” later, Mr.
                                          15   Moppin turned “maybe ninety degrees” counter-clockwise and reached
                                          16   with his right hand into his right front pocket.         Hofman Dep. at
                                          17   99-100, 112.   Later in Sgt. Hofman’s deposition, he changed his
                                          18   testimony and said that Mr. Moppin “must have turned clockwise,
                                          19   towards his right” because he saw Mr. Moppin’s right hand as it
                                          20   entered the right front pocket.      Hofman Dep. at 134.     While
                                          21   observing Mr. Moppin reach for his pocket, Sgt. Hofman yelled,
                                          22   “He’s reaching.”    Hofman Dep. at 105.     At the same time, Officers
                                          23   Jimenez and Borello fired their guns.       Hofman Dep. at 105.      Sgt.
                                          24   Hofman claimed that he did not have his gun drawn, but that if he
                                          25   had, he would also have shot Mr. Moppin.       Hofman Dep. at 134.
                                          26          Officer Thomas Doan was also at the scene of the shooting.            He
                                          27   arrived after Sgt. Hofman and Officers Jimenez and Borello, but
                                          28   before the shots were fired.      Officer Doan parked his car near Sgt.

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                                           1   Hofman’s and approached the Explorer from the north.         At the time
                                           2   of the shooting, Officer Doan was about five feet from the middle
                                           3   of the driver’s side door of the Explorer.        Doan Dep. at 75.3   At
                                           4   all times, his view of Mr. Moppin was obstructed by the Explorer.
                                           5   Doan Dep. at 50.      Because of the position of the Explorer, Officer
                                           6   Doan could only see Mr. Moppin’s head through the Explorer’s
                                           7   windows.      But, “other than that, I couldn’t see him at all.”      Doan
                                           8   Dep. at 50.      Officer Doan stated that he did not fire his own
                                           9   weapon because he “couldn’t see anything that would make me, you
                                          10   know, want to have to defend myself.”       Doan Dep. at 81.
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                                          11          After Officers Jimenez and Borello shot Mr. Moppin, Mr. Moppin
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                                          12   fell to the ground and crawled under the Explorer.         Hofman Dep. at
                                          13   115.       Officer Jimenez handcuffed Mr. Moppin and Sgt. Hofman checked
                                          14   him for vital signs and saw that he was conscious and breathing.
                                          15   Jimenez Dep. at 98, 100; Hofman Dep. at 117.        Officer Borello
                                          16   searched Mr. Moppin’s waistband but did not find a weapon.        Borello
                                          17   Dep. at 75.      Mr. Moppin died later that evening.
                                          18          On July 25, 2008 the Executive Force Review Board of the
                                          19   Oakland Police Department concluded that the shots fired by
                                          20   Officers Borello and Jimenez were reasonable and within
                                          21   Departmental use of force policy.
                                          22                                  LEGAL STANDARD
                                          23          Summary judgment is properly granted when no genuine and
                                          24   disputed issues of material fact remain, and when, viewing the
                                          25   evidence most favorably to the non-moving party, the movant is
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                                                     At another point in Officer Doan’s deposition, he testified
                                               that he was twelve to fifteen feet from the Explorer at the time of
                                          28   the shooting. Doan Dep. at 53.

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                                           1   clearly entitled to prevail as a matter of law.            Fed. R. Civ. P.
                                           2   56; Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986);
                                           3   Eisenberg v. Ins. Co. of N. Am., 815 F.2d 1285, 1288-89 (9th Cir.
                                           4   1987).
                                           5          The moving party bears the burden of showing that there is no
                                           6   material factual dispute.        Therefore, the court must regard as true
                                           7   the opposing party's evidence, if supported by affidavits or other
                                           8   evidentiary material.       Celotex, 477 U.S. at 324; Eisenberg, 815
                                           9   F.2d at 1289.      The court must draw all reasonable inferences in
                                          10   favor of the party against whom summary judgment is sought.
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                                          11   Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574,
    United States District Court




                                          12   587 (1986); Intel Corp. v. Hartford Accident & Indem. Co., 952 F.2d
                                          13   1551, 1558 (9th Cir. 1991).
                                          14          Material facts which would preclude entry of summary judgment
                                          15   are those which, under applicable substantive law, may affect the
                                          16   outcome of the case.       The substantive law will identify which facts
                                          17   are material.      Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248
                                          18   (1986).
                                          19                                      DISCUSSION
                                          20   I.     Individual Liability Under 42 U.S.C. § 1983
                                          21          Plaintiffs’ case hinges on whether Officers Jimenez’s and
                                          22   Borello’s use of lethal force was reasonable under the
                                          23   circumstances after drawing all inferences in favor of Plaintiffs.
                                          24   The Court concludes that it was.
                                          25          Claims of excessive force which arise in the context of an
                                          26   arrest, investigative stop or other seizure of a person are
                                          27   analyzed under a reasonableness standard.           Graham v. Connor, 490
                                          28   U.S. 386, 395 (1989).       The use of deadly force is a seizure subject

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                                           1   to the reasonableness requirement of the Fourth Amendment.
                                           2   Tennessee v. Garner, 471 U.S. 1, 7 (1985).
                                           3         The question in an excessive use of force claim is “whether
                                           4   the officers’ actions are ‘objectively reasonable’ in light of the
                                           5   facts and circumstances confronting them, without regard to their
                                           6   underlying intent or motivation.”        Graham, 490 U.S. at 397.
                                           7   Determining whether use of force is reasonable “requires a careful
                                           8   balancing of ‘the nature and quality of the intrusion on the
                                           9   individual’s Fourth Amendment interests’ against the countervailing
                                          10   governmental interests at stake.”        Id. at 396 (quoting in part
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                                          11   United States v. Place, 462 U.S. 696, 703 (1983)).         Reasonableness
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                                          12   “must be judged from the perspective of a reasonable officer on the
                                          13   scene, rather than with the 20/20 vision of hindsight.”           Id.   The
                                          14   calculus “must embody allowance for the fact that police officers
                                          15   are often forced to make split-second judgments -- in circumstances
                                          16   that are tense, uncertain, and rapidly evolving -- about the amount
                                          17   of force that is necessary in a particular situation.”            Id. at 396-
                                          18   97.
                                          19         An officer’s use of lethal force is reasonable if “the officer
                                          20   has probable cause to believe that the suspect poses a significant
                                          21   threat of death or serious physical injury to the officer or
                                          22   others.”   Garner, 471 U.S. at 3.     The Ninth Circuit has recognized
                                          23   that deadly force cases “pose a particularly difficult problem
                                          24   under this regime because the officer defendant is often the only
                                          25   surviving eyewitness.”     Scott v. Henrich, 39 F.3d 912, 915 (9th
                                          26   Cir. 1992).   Thus, the court “must ensure that the officer is not
                                          27   taking advantage of the fact that the witness most likely to
                                          28   contradict his story -- the person shot dead -- is unable to

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                                           1   testify.    The judge must carefully examine all the evidence in the
                                           2   record, such as medical reports, contemporaneous statements by the
                                           3   officer and the available physical evidence, as well as any expert
                                           4   testimony proffered by the plaintiff, to determine whether the
                                           5   officer's story is internally consistent and consistent with other
                                           6   known facts.”    Id.
                                           7           Here, the undisputed evidence shows that Officers Jimenez and
                                           8   Borello acted reasonably when they used deadly force against Mr.
                                           9   Moppin.    When Officers Jimenez and Borello encountered Mr. Moppin,
                                          10   they knew that he had recently fled from the scene of a traffic
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                                          11   stop.    Officers are taught this may be a sign that a suspect could
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                                          12   be armed or may have committed an offense more serious than a
                                          13   traffic violation.     Falfine Dep. at 14.    Once found by police
                                          14   officers, Mr. Moppin failed to obey their commands.         Initially, he
                                          15   refused to stand up and raise his hands and throughout the incident
                                          16   he was verbally combative.     The officers shot Mr. Moppin only after
                                          17   he failed to come toward them, as ordered, dropped his hands and
                                          18   then made a movement toward his waist area as though reaching for a
                                          19   weapon.    All three officers who could see Mr. Moppin unequivocally
                                          20   thought that he was reaching for a gun and feared for their safety.
                                          21   Therefore, in this case, the test for objective reasonableness is
                                          22   met.
                                          23           Plaintiffs argue that Officer Doan’s testimony creates a
                                          24   triable issue of material fact.      However, nothing in Officer Doan’s
                                          25   account of the events contradicts those of Officers Jimenez,
                                          26   Borello or Sgt. Hofman.     Plaintiffs make much of the fact that,
                                          27   throughout the entire incident, Officer Doan did not see Mr. Moppin
                                          28   reach to his waistband and that he “couldn’t see anything that

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                                           1   would make me, you know, want to have to defend myself.”           Doan Dep.
                                           2   at 81.    However, this is not surprising because Officer Doan’s view
                                           3   of Mr. Moppin was obstructed by the Explorer.         His vision was
                                           4   limited to what he could see through the Explorer’s windows only.
                                           5   Thus, Officer Doan could only see Mr. Moppin’s face and not the
                                           6   rest of his body.    Therefore, Plaintiffs’ attempt to use Officer
                                           7   Doan’s testimony to attack the objective reasonableness of the
                                           8   officers’ response fails.
                                           9           Plaintiffs’ assertions that Mr. Moppin was cooperative and
                                          10   unthreatening is also unsupported by the record.         Upon first
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                                          11   approaching Mr. Moppin, Officers Jimenez and Borello repeatedly
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                                          12   commanded that he stand up and show his hands.         Mr. Moppin was slow
                                          13   to follow these commands, and when he finally did raise his hands,
                                          14   he only kept them up for a few seconds at the most.          Further, Mr.
                                          15   Moppin verbally challenged the officers throughout the incident.
                                          16   To support their assertion that Mr. Moppin was compliant,
                                          17   Plaintiffs rely on the testimony of Lennart Persson.          Persson was
                                          18   seated in his parked truck and viewed the incident through his
                                          19   driver’s side rear-view mirror.      He never saw Mr. Moppin at any
                                          20   point during the incident and he primarily heard the events from
                                          21   his left ear, which is his “bad ear;” he can only hear seventy to
                                          22   eighty percent of normal out of that ear.        Further, the parties do
                                          23   not state how far Mr. Persson was from the scene of the shooting.
                                          24   Thus, his testimony does not create a triable issue of a material
                                          25   fact.
                                          26           Plaintiffs also argue that Officers Jimenez and Borello and
                                          27   Sgt. Hofman testified inconsistently about the nature of Mr.
                                          28   Moppin’s movement which prompted the shooting.         Primarily,

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                                           1   Plaintiffs take issue with the inconsistency between Officers
                                           2   Jimenez’s and Borello’s testimony that Mr. Moppin reached towards
                                           3   his back waistband with his right hand and Sgt. Hofman’s testimony
                                           4   that Mr. Moppin reached for his front right pocket with his right
                                           5   hand.    However, considering that Sgt. Hofman viewed the incident
                                           6   from behind Mr. Moppin whereas Officers Jimenez and Borello were
                                           7   facing him, these statements are not inconsistent.          Mr. Moppin
                                           8   turned toward Sgt. Hofman’s position, and, in that split-second
                                           9   when his right hand went out of Officers Jimenez’s and Borello’s
                                          10   sight, it came into Sgt. Hofman’s view.        Thus, where Officers
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                                          11   Jimenez and Borello inferred the destination of Mr. Moppin’s hand
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                                          12   once it went out of view, Sgt. Hofman could see it directly.          All
                                          13   three officers testified that Mr. Moppin lowered his hands and
                                          14   suddenly reached down and towards the right of his pants.          In the
                                          15   course of this split-second movement, the substantive difference
                                          16   between Mr. Moppin’s right front pocket and rear waistband is
                                          17   immaterial.
                                          18           Plaintiffs assert that Mr. Moppin was turning to his right in
                                          19   response to something Sgt. Hofman said to him and not as part of a
                                          20   reaching motion towards his pants.        However, responding to Sgt.
                                          21   Hofman did not require Mr. Moppin to put his hands down and reach
                                          22   for his waistband with two armed officers in front of him
                                          23   repeatedly ordering him to keep his hands up.         Further, Plaintiffs’
                                          24   arguments that the officers gave inconsistent commands is not
                                          25   supported by the record.     Although more than one officer was
                                          26   speaking to Mr. Moppin at a time, they were all commanding him to
                                          27   do the same things -- to keep his hands up and in view.
                                          28           Plaintiffs lastly assert that Defendants’ version of the

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                                           1   events could not have happened as they recount in the short time
                                           2   span that the incident actually occurred.        The audio dispatch
                                           3   report shows that only twelve seconds elapsed from when Officer
                                           4   Borello announced that she was “on scene” and the announcement of
                                           5   shots fired.   Chanin Decl., Exh. 18.      Plaintiffs argue that twelve
                                           6   seconds is not sufficient time for Officers Borello and Jimenez to
                                           7   observe enough of the situation to use deadly force reasonably
                                           8   against Mr. Moppin.     Plaintiffs assert, therefore, that Defendants’
                                           9   recollection of the events is, at best, inaccurate, or, at worst,
                                          10   fabricated.
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                                          11        Defendants claim that the recording Plaintiffs rely on does
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                                          12   not represent the real time occurrence of the events because
                                          13   unrelated incidents and gaps resulting from radio silence were
                                          14   deleted from the recording.      Cota Decl. ¶¶ 7-8.     Plaintiffs dispute
                                          15   this assertion.    However, even if the recording accurately
                                          16   represents that twelve seconds elapsed from when Officer Borello
                                          17   arrived on the scene until she shot Mr. Moppin, this does not
                                          18   render her use of force unreasonable.       There is nothing
                                          19   inconsistent between the twelve second time frame and Defendants’
                                          20   testimony.    The unfortunate reality of Mr. Moppin’s death is that
                                          21   it represents an example of how a sudden furtive movement in
                                          22   defiance of an officer’s order can reasonably precipitate an
                                          23   officer’s use of lethal force.4
                                          24        In sum, Mr. Moppin’s belligerent behavior, reluctance to
                                          25
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                                                     To the extent that the Court relied upon evidence to which
                                          26   the parties objected, the objections are overruled. The Court did
                                               not rely on any inadmissible evidence in reaching its decision. To
                                          27   the extent the Court did not rely on evidence to which the parties
                                               objected, the objections are overruled as moot.
                                          28

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                                           1   comply with commands, the lowering of his hands and reaching
                                           2   towards his waistband and his statement that he didn’t “give a
                                           3   fuck” if the officers shot him because he had been shot before,
                                           4   would lead a reasonable officer to believe he was reaching for a
                                           5   weapon.   Therefore, the Court grants summary judgment for
                                           6   Defendants on Plaintiffs’ § 1983 claims against the individual
                                           7   officers.5
                                           8   II.   Municipal Liability Under 42 U.S.C. § 1983
                                           9         The City of Oakland cannot be liable under § 1983 because
                                          10   there has been no violation of Plaintiffs’ constitutional rights.
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                                          11   City of Los Angeles v. Heller, 475 U.S. 796, 799 (1986) (“If a
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                                          12   person has suffered no constitutional injury at the hands of the
                                          13   individual officer, the fact that the departmental regulations
                                          14   might have authorized [the constitutional violation] is quite
                                          15   beside the point.”); Quintanilla v. City of Downey, 84 F.3d 353,
                                          16   355 (9th Cir. 1996) (“Thus, an individual may recover under § 1983
                                          17   only when his federal rights have been violated.”).
                                          18         However, even if Plaintiffs could prove a violation of their
                                          19   constitutional rights, they have not shown that their injuries were
                                          20   caused by an official policy of the City of Oakland, as required
                                          21   under Monell v. New York Department of Social Services, 436 U.S.
                                          22   658, 694 (1978).
                                          23         Plaintiffs argue that Oakland’s failure adequately to train
                                          24   its officers caused Mr. Moppin’s death.        In the failure to train
                                          25   context, “evidence of a single violation of federal rights,
                                          26   accompanied by showing that a municipality has failed to train its
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                                                     For the same reasons, Plaintiffs’ state wrongful death claims
                                          28   also fail.

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                                           1   employees to handle recurring situations presenting an obvious
                                           2   potential for such a violation, could trigger municipal liability.”
                                           3   Board of County Commissioners of Bryan County, Oklahoma v. Brown,
                                           4   520 U.S. 397, 409 (1997).      The Supreme Court has noted “in a narrow
                                           5   range of circumstances, that a violation of federal rights may be a
                                           6   highly predictable consequence of a failure to equip law
                                           7   enforcement officers with specific tools to handle recurring
                                           8   situations.”   Id. at 410.     This involves circumstances in which
                                           9   such a violation of a federal right was the “plainly obvious
                                          10   consequence” of a “particular glaring omission in a training
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                                          11   regimen.”   Id.
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                                          12        Here, Plaintiffs have not presented evidence of any
                                          13   deficiencies within Oakland Police Department’s training regimen or
                                          14   a failure to train regarding recurring situations.          Plaintiffs
                                          15   focus on the fact that the Executive Force Review Board identified
                                          16   a few issues that required more training regarding (1) cover,
                                          17   (2) use of flashlights and (3) Sgt. Hofman’s inability to fire at
                                          18   the suspect because his gun was holstered and his failure to take
                                          19   control of the scene.     However, these recommendations were given
                                          20   after the shooting incident and, therefore, do not pertain to the
                                          21   adequacy of the officers’ training before the incident.            Moreover,
                                          22   the Board concluded that the officers’ conduct was reasonable and
                                          23   did not violate the Department’s use of force policy, which was
                                          24   itself constitutional.     In sum, Plaintiffs have failed to
                                          25   demonstrate any link between a municipal policy or custom and the
                                          26   alleged constitutional deprivations.       Therefore, the Court grants
                                          27   summary judgment for Defendants on Plaintiffs’ Monell claim.
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                                           1                                    CONCLUSION
                                           2        For the foregoing reasons, the Court grants Defendants’
                                           3   summary judgment motion (Docket No. 35).        The clerk shall enter
                                           4   judgment for Defendants and the parties shall bear their own costs.
                                           5        IT IS SO ORDERED.
                                           6   Dated: 01/12/10
                                                                                          CLAUDIA WILKEN
                                           7                                              United States District Judge
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For the Northern District of California




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    United States District Court




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